Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD Page 1 of 8

UNITED STATES DISTRICT COURT === sts TRe OR TENRE

wee te

FOR THE SOUTHERN DISTRICT OF TEXAS | FILED
OCT 2 9 2011

UNITED STATES OF AMERICA

: '
se de meet

v.
AFFIDAVIT IN SUPPORT

JESUS ENRIQUE REJON AGUILAR OF EXTRADITION
a.k.a. “Mamito,” :

a.k.a. “Caballero,” Criminal Number *}(|1- | 4 (oP 1 rm
Defendant. :
I, Anthony Lewis, being duly sworn, hereby depose and say:

1. I am a citizen of the United States of America.

2. I am a Special Agent of the United States Drug Enforcement
Administration (‘DEA”), working in Houston, Texas. I have worked as a DEA Special Agent
for approximately seven years. Prior to DEA, I was employed as a Montgomery County
Constable Deputy for eight years.

3. The DEA is one of the agencies within the United States Government
responsible for the enforcement of federal narcotics laws. As a Special Agent with the DEA, I
have personally conducted and participated in numerous investigations that have resulted in the
arrests and convictions of individuals responsible for trafficking in narcotics.

4. I have participated in investigations involving both the unlawful
importation and distribution of controlled substances, arms trafficking and the exchange of arms
for narcotics, and material support for a foreign terrorist organization. As part of those
investigations, I have conducted or participated in surveillance, the execution of search warrants,

and the debriefing of informants and cooperating witnesses. I have also reviewed taped

conversations, electronic mail, and drug records relating to narcotics trafficking and the means
 

Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD Page 2 of 8

and methods of payment for narcotics, including arms-for-narcotics trades. Through my
training, education, and experience, I have become familiar with the manner in which illegal
drugs are transported, stored, and distributed, and with the methods of payment for such drugs. I
also am familiar with the federal criminal laws, particularly those laws relating to narcotics and
money laundering.

5. The facts in this affidavit are based on conversations I have had with other
law enforcement officers involved in this investigation and with cooperating witnesses, as well
as my review of reports, documents, and other evidence.

6. My duties have included conducting an investigation of JESUS
ENRIQUE REJON AGUILAR, aliases “Mamito” and “Caballero” (“REJON AGUILAR”),
who has been indicted in the case captioned United States of America v. Antonio Ezequiel
Cardenas-Guillen, et al., case number 08-057, in the United States District Court for the District
of Columbia. As one of the lead investigators, I am familiar with the evidence in the case. The
evidence in this case includes information obtained from eyewitness Jose Luis Del Toro Estrada,
lawfully authorized telephone interceptions, and drug seizures. The declaration of Jose Luis Del
Toro Estrada is included with this request for extradition.

7. Beginning in approximately 2006, the DEA has been investigating a
Mexico-based drug trafficking organization, of which REJON AGUILAR is a member. United
States law enforcement authorities learned that REJON AGUILAR trafficked and imported
significant quantities of cocaine and marijuana into the United States from Mexico. According
to eyewitnesses and other evidence gathered in this case, REJON AGUILAR assisted in

arranging financing, purchase, and transportation of significant quantities of cocaine and

2
Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD Page 3 of 8

marijuana for importation from Mexico into the United States, where these narcotics were then
distributed and sold.

8. Law enforcement authorities learned that REJON AGUILAR worked for
a drug trafficking organization based in Mexico known as Los Zetas, which operated together
with another Mexico-based drug trafficking organization known as the Gulf Cartel in a combined
drug trafficking organization known as The Company. The Company worked interdependently
and with other drug trafficking organizations to finance, purchase, transport and distribute
cocaine and marijuana destined for the United States. Law enforcement authorities learned that
The Company shipped cocaine from drug trafficking organizations in Colombia to Mexico,
where the cocaine was stored until it was loaded onto tractor trailers for transportation into the
United States. In general, The Company’s marijuana originated in Mexico, from which it was
also transported into the United States. The law enforcement investigation revealed that REJON
AGUILAR was actively involved in overseeing The Company’s narcotics trafficking activities
in Mexico, which directly impacted and aided their drug trafficking activities into and in the
United States.

9. Lawfully authorized telephone interceptions have shown that the members
of The Company fulfilled a number of responsibilities within the organization to facilitate the
purchase and transportation of cocaine from Colombia to Central America, then to Mexico, and
finally to the United States. Through these telephone interceptions, law enforcement authorities
learned of numerous conversations between members of The Company concerning the shipment
and transportation of cocaine and marijuana in quantities of a thousand kilograms, equal to one

metric ton, or more. Lawfully authorized interceptions of telephone communications have also
 

Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD Page 4 of 8

shown conversations between members of The Company involving all aspects of supervising,
organizing, and facilitating numerous cocaine and marijuana shipments.

10. Over the course of the investigation, REJON AGUILAR was heard
discussing the purchase of cocaine and marijuana, the transportation of the drugs, and financial
transactions with other members of The Company in lawfully recorded telephone conversations.
As explained in greater detail below in paragraph 11 of this affidavit, REJON AGUILAR’s
voice was identified in three of these telephone conversations by a witness who personally knew
REJON AGUILAR and worked with REJON AGUILAR while they were associated with The
Company. Transcripts of six lawfully intercepted telephone calls involving REJON
AGUILAR, which were recorded on the dates indicated below, are attached to this affidavit as
set forth below:

A, On March 7, 2007, DEA agents lawfully intercepted and recorded
a telephone conversation between REJON AGUILAR and Samuel Flores Borrego
(“Flores Borrego”). Based on my knowledge of this investigation, I know that Flores
Borrego used the alias names Comandante Tres, Metro Tres, and Tres, and that he was a
high-level leader in The Company and the Gulf Cartel. Among other things, the two men
discussed a shipment of drugs which belonged to REJON AGUILAR seized by law
enforcement authorities as it was being crossed into the United States. REJON
AGUILAR also offered Flores Borrego an alternate crossing which REJON AGUILAR
had utilized and guaranteed safe passage of between 70 and 100 kilograms of cocaine at a

time. A transcript of this conversation is attached to my affidavit as Attachment D-1.
Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD Page 5 of 8

B. On May 29, 2007, DEA agents lawfully intercepted and recorded a
telephone conversation in which Jaime Gonzalez Duran (“Gonzalez Duran”) and
Heriberto Lazcano Lazcano (“Lazcano”) discussed in coded language, among other
things, the price of a kilogram of cocaine along the Mexico/United States border.
Gonzalez Duran advised that he had been selling the kilograms of cocaine for $11,000.00
- $11,300.00 per kilogram. Lazcano told Gonzalez Duran that the price of a kilogram of
cocaine had gone up to $12,000.00 and for Gonzalez Duran to stop underselling the
cocaine. Lazcano further instructed Gonzalez Duran to contact “Mamito” and let him
know also. Based on my knowledge of this investigation, I know “Mamito” to be an alias
used by REJON AGUILAR. A transcript of this conversation is attached to my
affidavit as Attachment D-2.

C. On May 30, 2007, DEA agents lawfully intercepted and recorded a
telephone conversation in which Gabriel Ballesteros (“Ballesteros”), a high ranking
member of The Company, and Flores Borrego discussed in coded language, among other
things, the availability of cocaine. Flores Borrego advised Ballesteros that some cocaine
had arrived but those kilograms of cocaine belonged to “Mamito,” an alias used by
REJON AGUILAR, and not to Flores Borrego. Flores Borrego stated that he did not
have the same power as Mamito. A transcript of this conversation is attached to my
affidavit as Attachment D-3.

D. On June 5, 2007, DEA agents lawfully intercepted and recorded
another telephone call in which REJON AGUILAR and Flores Borrego spoke in coded

language about, among other things, a shipment of marijuana REJON AGUILAR had
 

Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD_ Page 6 of 8

ordered through Flores Borrego. REJON AGUILAR explained to Flores Borrego how
he planned on making $300,000.00 in profit from the sale of a two (2) ton shipment of
marijuana and re-investing that profit twice, to allow him to purchase ten (10) tons of
marijuana. A transcript of this conversation is attached to my affidavit as

Attachment D-4.

E, On June 26, 2007, DEA agents lawfully intercepted and recorded a
telephone conversation in which REJON AGUILAR and Flores Borrego discussed in
coded language, among other things, the purchase of one (1) ton of good quality, green
and smelly marijuana. REJON AGUILAR told Flores Borrego that he had a client who
would buy twenty thousand (20,000) pounds. A transcript of this conversation is
attached to my affidavit as Attachment D-5.

F. On November 19, 2007, DEA agents lawfully intercepted and
recorded a telephone conversation in which Juan Reyes Mejia Gonzalez, alias “R-1,”
(“Mejia Gonzalez”) and Omar Trevino Morales, alias “42,” (“Omar Trevino”) discussed
in coded language, among other things, the assignment of Omar Trevino and Rejon
Aguilar to be in charge of the Saltillo, Coahuila plaza for the Zetas. Mejia Gonzalez also
detailed his start in the organization with “Mamito,” an alias used by REJON
AGUILAR. A transcript of this conversation is attached to my affidavit as Attachment
D-6.

11. During the course of this investigation, several witnesses have been
identified, including the following. One witness, Jose Luis Del Toro Estrada (“Del Toro”),

personally knows REJON AGUILAR and worked with REJON AGUILAR while both were

6
Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD Page 7 of 8

associated with The Company. Based on his drug trafficking activities with The Company, Del
Toro pleaded guilty to criminal narcotics trafficking charges in the United States. According to
Del Toro, he had direct dealings with REJON AGUILAR from the period of approximately
January 2005 through approximately September 2008. As such, Del Toro is familiar with and is
able to recognize REJON AGUILAR’s voice and the voices of other members of The
Company. DEA agents played the audio recordings of the six lawfully recorded telephone calls
listed in the previous paragraph (subparagraphs 10.A. — 10.F.) for Del Toro and told him the
dates on which each call was recorded. Del Toro was able to identify REJON AGUILAR’s
voice in the three recordings in which REJON AGUILAR was a participant. Moreover, Del
Toro was able to identify the voices of other members of The Company, provide context for
these conversations, and decipher the coded language used by REJON AGUILAR and other

members of The Company to conduct their narcotics trafficking activities.

IDENTIFICATION
12. JESUS ENRIQUE REJON AGUILAR, alias Mamito, alias Caballero, is
a Mexican citizen, born June 9, 1976, in Mexico. He is a Hispanic male, approximately 6 feet,
1 inch tall, weighing approximately 215 pounds, with black hair and brown eyes.
13. During this investigation, I obtained two (2) photographs of REJON
AGUILAR from law enforcement officials. These photographs were shown to Jose Luis Del
Toro, who identified the man in the photographs as REJON AGUILAR, the individual with

whom Del Toro was involved in drug trafficking activities and whose voice he identified in the
Case 4:11-mj-01367 Document 1 Filed on 10/20/11 in TXSD_ Page 8 of 8

audio recordings referred to above. The two photographs shown to Jose Luis Del Toro Estrada

are attached to my affidavit as Attachment D-7.

ANTHONY LE

SPECIAL AGENT
DRUG ENFORCEMENT ADMINISTRATION

SWORN AND SUBSCRIBED BEFORE ME

THIS ) LO DAY OF OCTOBER 2011.

Ne Moy

UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF TEXAS
